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                            INFORMATION AND INSTRUCTIONS


                       FTLING COMPLATNT UNDER 42 U.S.C. S 1983

This form is to assist you in the preparation of a complaint seeking relief under the Civil Rights
Act. [n order for your complaint     to be considered by the District Court, it must be typewritten or
legibly handwritten. All questions must be answered clearly and concisely in the appropriate
space on the form. If there is more than one defendant, you should clearly indicate which of the
acts alleged is attributable to each defendant.

                                        A.   The Complaint

    1) An original complaint must be provided for the court. You should keep a copy of the
       complaint for your records.

    2) Your complaint must be signed and include a declaration under penalty of perjury. You
       are cautioned that any deliberate false statement of a material fact may serve as a basis for
       prosecution and conviction for perjury. You should therefore exercise care to assure that
       all answers are true, correct, and complete.

    3) Under the   Civil Rights Act,42 U.S.C. $ 1983, the court can grant relief only for wrongs
       which amountto the denial of federal constitutional rights by a person acting under color of
       state law. Your complaint can be brought in this court only if one or more of the named
       defendants are located within this judicial district.

   4) You must furnish original copies of all papers, correspondence or other documents
      submitted to the court for filing and'consideration. In addition, you must furnish the
      opposing parly or his attorney with a copy of all such documents submitted to the court.
      Each original document (except the original complaint) must include a certificate stating
      the date a copy of the document was mailed to the opposing party or his attorney and the
      address to which it was mailed.

A certificate of service should be in the following form:


       "I hereby certifr thatacopy of the foregoing pleading/document was mailed to:

fuoce Jail€>            o\ w,owNEN G at          UNfrED STA'EES Dr;STRr;CT Cout(T
         (Opposing party or counsel)            333 bnF.s evD, NA Muq"       ,, NA


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                                                                                                OFFICIAL SEAL
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                           B.   The Filing Fee and 28 U.S.C. S 1915

l) The complaint must be accompanied by the full $350.00 filing fee. If you want                   to
     commence     an action  without prepayment    of fees  or security therefore, you must   file  a
     motion for leave to proceed pursuant to 28 U.S.C. $ 1915. Under $ 1915, you also must
     submit an affidavit and a certified copy of your trust fund account statement (or
     institutional equivalent) for the six-month period immediately preceding the filing of the
     complaint. The certified copy of the trust fund account statement (or institutional
     equivalent) must be obtained from the appropriate official of each penal institution at
     which you are or were confined during the six-month period. The court will not consider
     the merits of the claims asserted in any complaint filed without either the $350.00 filing fee
     or a properly completed motion, affidavit and certified copy of your trust fund account
     statement (or institutional equivalent) as required by $ 1915.

2) The motion and      affidavit for leave to proceed pursuant to 28 U.S.C. $ 1915 must be
     typewritten or legibly handwritten. All questions must be answered clearly and concisely
     in the appropriate space on the form. You must sign the motion and affidavit. You
     should exercise care to assure that all answers are true, correct and complete.

3)   If you are proceeding pursuant to 28 U.S.C. $ 1915 and the motion, affidavit and certified
     copy of your trust fund account statement (or institutional equivalent) are in proper form,
     you will be ordered to pay within thirly days an initial partial filing fee in an amount to be
     determined by the court pursuant to $ l9l5(bX1). The court will not review the merits of
     your complaint until the initial partial filing fee is paid. If you fail to pay the initial partial
     filing fee within thirty days or fail to show that you have no assets and no means by which
     to pay the initial partial filing fee, the complaint will be dismissed without prejudice. If
     the initial partial filing fee is paid within thirty days, the court will review the complaint
     pursuant to $ 1915(eX2XB) to determine if it is frivolous or malicious, fails to state a claim
     on which relief may be granted, or seeks monetary relief against a defendant who is
     immune from such relief.

4) You are reminded that, even if you are allowed to proceed pursuant to 28 U.S.C. $ 1915,
   you must pay the full filing fee as required by law, i.e.; $350.00. It is your responsibility
   to ensure that monthly payments are sent to the court as required by $ 1915(b)(2) until the
   filing fee is paid in full. It is your responsibility to have the institution where you are
   confined forward the payments from your trust fund account to the Clerk of the Court each
   time the amount in your account exceeds $10.00. The complaint may be dismissed at any
   point if you fail to make the required monthly payments.

s) When your complaint is completed, it should be mailed with the necessary copies and
   filing fee, or motion to proceed pursuant to 28 U.S.C. $ 1915 and financial certificate, to
   the Clerk of the United States District Court whose address is:

                                     U.S. District Court
                                333 Lomas Blvd. NW, Ste.270
                                  Albuquerque,     NM     87102

6) United States   District Judges, United States Magistrate Judges, law clerks, the Clerk of
     Court, and deputy clerks are officers of the court and are prohibited from giving legal
     advice. Questions of this nature should be directed to an attorney.
                              Case 1:19-cr-00077-JB Document 125 Filed 03/13/20 Page 12 of 24

Pro Se 14 (Rev. 12116) Comolaint for Violation of Civil Riehts (Prisoner)




                                                  Umrpo                STATBS DISTruCT COURT
                                                                                      for the
                                                                          District of New Mexico

                                                                                   lotL     Division


                                                                                                Case No.

NTLIsA€L                          tr,      NZSSE){                                                         0o   be   rtiled in by the Clerk's Ofiice)

                                        Plaintiff(s)
(lYrite    the   full   name of each    plaintif who is filing this   complaint.
Ifthe      names    ofall   the   plaintffi cannot fit in the space   above,
please write "see attached" in the space and attach an additional
page with the full list of names.)
                                            -v-



TUDeE SAM€S Ot T3noW^l rN C,
                                      De/endantb)
(lltrile   thefull name of each defendant who is being sued. If the
names      ofall the defendants cannotfit in the space above, please
write "see attached" in the space and attach an additiornl page
with   the   full list   of names. Do not include addresses here.)




                                            COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
                                                                          (Prisoner Complaint)



                                                                                    NOTICE

     Federal Rules ofCivil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
    electronic court files. Under this rule, papers filed with the court should not contain: an individual's full social
    security number or full birth date; the full name of a person known to be a minor; or a complete financial account
    number. A filing may include only: the last four digits of a social security number; the year of an individual's
    birth; a minor's initials; and the last four digits of a financial account number.

    Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
    other materials to the Clerk's Office with this complaint.

    In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
    forma pauperis.




                                                                                                                                                        Page 1   of ll
                       Case 1:19-cr-00077-JB Document 125 Filed 03/13/20 Page 13 of 24

Pro Se 14 (Rev. 12l16) Complaint for Violation   ofCivil Riehts (Prisoner)


          The Parties to This Complaint

          A.         The Plaintiff(s)


                     Provide the information below for each plaintiff named in the complaint. Attach additional pages                            if
                     needed.
                           Name                                              I4ILHA€L              f.      r.lzssgN
                           All   other nzlmes by which
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                           Address                                           p. o,      Box 3=_+o
                                                                             MrLAN                           N.   /\         tr'7oLl
                                                                                         City                   State                Zip Code


          B.         The Defendant(s)

                     Provide the information below for each defendant named in the complaint, whether the defendant is an
                     individual, a goverrrment agency, an organization, or a corporation. Make sure that the defendant(s)
                     listed below are identical to those contained in the above caption. For an individual defendant, include
                     the person's job or title (if toown) and check whether you are bringing this complaint against them in their
                     individual capacity or official capacity, or both. Attach additional pages if needed.

                     Defendant No.        1

                           Name                                              fuDce J7*rv1€9 o'                    f3RowNr;Nc-
                           Job or Title (if known)                           {UD6E
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                           Employer                                          ,N'T.E> 3tl,t€s (ava<N H€f,qv
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                     Defendant     No.2                                             I
                           Name                                                  N/e
                           Job or Title (if known)
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               Case 1:19-cr-00077-JB Document 125 Filed 03/13/20 Page 14 of 24


                        for Violation of Civil R


              Defendant No. 3
                    Name                                        N/a
                    Job or Title (f known)
                    Shield Number
                    Employer
                    Address

                                                                                                                          Zip Code


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              Defendant No. 4
                    Name                                           N/aI
                    Job or Title (if knownl
                    Shield Number
                    Employer
                    Address

                                                                               City                                       Zip Code

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II.   Basis for Jurisdiction

      Under 42 U.S.C. $ 1983, you may sue state or local officials for the "deprivation of any rights, privileges, or
      immunities secured by the Constitution and [federal laws]." Under Bivens v. Six Unlcnown Named Agents of
      Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
      constitutional rights.

      A.      Are you bringing suit against        (check   all that apply):

              ltr   pede.ul officials (a Bivens claim)

              !     St tr or local officials (a $ 1983 claim)

      B.      Section 1983 allows claims alleging the "deprivation of any rights, privileges, or immunities secured by
              the Constitution and [federal laws]." 42 U.S.C. $ 1983. If you are suing under section 1983, what
              federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?

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      C.      Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
              are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
              officials?




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Pro Se 14 (Rev. 12116) Complaint for Violation of Civil Rights (Prisoner)


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                      Section 1983 allows defendants to be found liable only when they have acted "under color of any
                      statute, ordinance, regulation, custom, or usage, of any State or Tenitory or the District of Columbia."
                      42 U.S.C. $ 1983. If you are suing under section 1983, explain how each defendant acted under color
                      of state or local law. If you are suing tnder Bivens, explain how each defendant acted under color of
                      federal law. Attach additional pages if need"d. 1',1 oT=oNS ALt-                          T3EFaR€
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IIL        Prisoner Status

           Indicate whether you are a prisoner or other confined person as follows (check all that apply):

          tr          Pretrial detainee

          tr          Civilly committed detainee

          tr          Immigration detainee

          u           Convicted and sentenced state prisoner

          T           Convicted and sentenced federal prisoner

          tr          Other (explain)            C-oNuTCl-ED                AND PRA 5e- tra.tc-=N4. K&tr
rv.      Statement of Claim

         State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
         alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
         further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
         any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
         statement of each claim in a separate paragraph. Attach additional pages if needed.


         A.           If the events giving rise to your claim arose outside an institution, describe where and when they arose.




         B.          If the events giving rise to your claim arose in an institution, describe where and when they arose.

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          C.          What date and approximate time did the events giving rise to your claim(s) occur?


                         fittt-uST-Ctat Zota

         D.           What are the facts underlying your claim(s)? (For example: llhat happened to you? Who did what?
                      Was anyone else involved? Vfrho else saw what happened?)




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V.       Injuries

         If you sustained injuries related to the events alleged above, describe your injuries and state what medical
         treatment, if any, you required and did or did not receive.




               ,/^


vr.      Relief

         State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
         If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
         the acts alleged. Explainthe basis forthese claims. 7.to moNETa<l REL=tr 5.tr..tc;t4f .+frq
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VII.       Exhaustion of Administrative Remedies Administrative Procedures

           The Prison Litigation Reform Act ("PLRA"), 42 U.S.C. $ 1997e(a), requires that "[n]o action shall be brought
           with respect to prison conditions under section 1983 of this title, or any other Federal law, by a prisoner confined
           in any jail, prison, or other correctional facility until such administrative remedies as are available are
           exhausted."

           Administrative remedies are also known as grievance procedures. Your case may be dismissed if you have not
           exhausted your administrative remedies.


           A.            Did your claim(s) arise while you were confined in a jail, prison, or other correctional facility?

                                Yes

                         tr"o
                         If yes, name the jail, prison, or other correctional facility where you were confined                 at the time of the
                         events giving rise to your claim(s).




           B.            Does the jail, prison, or other correctional facility where your claim(s) arose have a grievance
                         procedure?

                         p     v"t
                         E*o
                         f]    oo notknow


           C.            Does the grievance procedure at the                  jail, prison, or other correctional facility where your claim(s)   arose
                         cover some or all of your claims?

                         I     v",
                         El
                               "o
                         E     oonotknow

                         If yes, which claim(s)?




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         D.           Did you filea grievance in the jail, prison, or other correctional facility where your claim(s) arose
                      concerning the facts relating to this complaint?

                      I     v".
                      E*o
                      If no, did you file a grievance about the events described in this complaint at any   other   jail, prison, or
                      other correctional facility?

                      E ,..
                      ENo

         E.           If you did file a grievance:

                      L     Where did you file the grievance?




                            ,/o
                      2.    What did you claim in your grievance?




                     3.     What was the result, if any?




                     4.    What steps, if any, did you take to appeal that decision? Is the grievance process completed? If
                           not, explain why not. (Describe all efforts to appeal to the highest level of the grievance process.)




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         F.           If you did not file      a grievance:


                      l.    Ifthere are any reasons why you did not file a grievance, state them here:

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                      2.    If you did not file a grievance but you did inform officials of your claim,   state who you informed,
                            when and how, and their response, if any:




                             */o
         G.           Please set forth any additional information that is relevant to the exhaustion of your administrative
                      remedies.




                       i      o:--aN         S             >g        tA   t 9 , c-. ,A X   zzgg
                      Q{ote: You may attach as exhibits to this complaint any documents related to the exhaustion of your
                     administrative remedies.)


\rIII.   Previous Lawsuits

         The "three strikes rule" bars a prisoner from bringing a civil action or an appeal in federal court without paying
         the filing fee if that prisoner has "on three or more prior occasions, while incarcerated or detained in any facility,
         brought an action or appeal in a court of the United States that was dismissed on the grounds that it is frivolous,
         malicious, or fails to state a claim upon which relief may be granted, unless the prisoner is under imminent
         danger of serious physical injury." 28 U.S.C. $ 1915(g).

         To the best of your knowledge, have you had a case dismissed based on this "three strikes rule"?

         E v.t
         E*o
         If yes, state which court dismissed your case, when this occurred, and attach a copy of the order if possible.

              N/
                /A


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          A.          Have you filed other lawsuits in state or federal court dealing with the same facts involved in this
                      action?


                      I      v.s

                      El    *o

          B.          If your answer to A is yes, describe each lawsuit by answering questions 1 through 7 below. (If there is
                      more than one lawsuit, describe the additional lawsuits on another page, using the same format.)


                      l     Parties to the previous lawsuit
                            Plaintiff(s)
                            Defendant(s> N /*

                      2.     Cowt (iffederal court, name the district; if state court, name the county and State)



                      3.    Docket or index number




                      4.    Name of Judge assigned to your case
                                   N/A
                      5.    Approximate date of filing lawsuit
                                 NI
                      6.    Is the case still pending?

                            f    v"t
                            E*o
                             If no, give the approxim           ate dateof disposition.


                      7.    What was the result of the case? (For example: Was the case dismissed?       Was   judgment entered
                            in your   favor?      Was the case appealed?)




         C.           Have you filed other lawsuits in state or federal court otherwise relating to the conditions of your
                      imprisonment?



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                      fl       v"'
                      E*o
         D.           If your answer to C is yes, describeeach lawsuit by answering questions 1 through 7 below. (If there is
                      more than one lawsuit, describe the additional lawsuits on another page, wing the same format.)


                          l.   Parties to the previous lawsuit

                               Plaintiff(s) N lf
                               Defendant(s) N
                                                          /^
                          2.   Cotxt (iffederal court, name the district; if state court, namie the county and State)




                               Name of Judge assigned to your case




                               Approximate date of filing lawsuit




                          6.   Is the case still pending?

                               I    v.t
                               E*o
                               If no, give the approximate           date of disposition


                          7.   What was the result of the case? (For example: IYas the case dismissed? llas judgment entered
                               in your   favor?      Was the case appealed?)




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IX.   Certification and Closing

      Under Federal Rule of Civil Procedure I 1 , by signing below, I certify to the best of my knowledge, information,
      and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
      unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
      nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
      evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
      opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
      requirements of Rule 11.



      A.       For Parties Without an Attorney

               I agtee to provide the Clerk's Office with any changes to my     address where case-related papers may be
               served. I understand that my failure to keep a current address on file with the Clerk's Office may result
               in the dismissal of my case.


               Dateofsigning:         0-Llf l\z ozo

               Signature of   Plaintiff
               Printed Name of Plaintiff
               Prison Identification #        ozsoS is I
               Prison Address                 p.o. T3or 3sL+ o
                                               N t/-/tN                                    N.M               $zoz1
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               Signature of Attorney
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